       Case 2:19-cv-00050-JPB-MJA Document 1-3 Filed 12/16/19 Page 1 of 1 PageID #: 14

 EEOC Fc~m 1$~ (ttál8~                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                               DISMISSAL AND NoTicE OF RIGHTS
 To:    WWiam E. Scott1 Jr                                        From: Pittsburgh Area Office
        8-Metaner-Holiow-Road            t~O~ f5i~                      1001) Liberty Avenue
        Helvetla, WV 26224                                              Room 1112
                                                                        Pittsburgh, PA 15222


       ~J                   On behaff o(persan(s) agg,k,vod whose identity Js~
                            CONFIDENTiAL (29 CFR ~16O1.7(a))
 EEOC Charge No.                                EEOC Representative                                                  Telephone No.

 533-2019-00049                         Legal UnltlPhlladelphla District Office                               (215) 440-2828
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not Involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes,

       []        Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to tile your charge
       [~]      The EEOC Issues the fbllowing determination: Based upon its Investigation, the EEOC Is unable to conclude that the
                Information obtained establishes violations of the statutes. This does not certify that the respondent Is In compliance with
                the statutes. No finding is made as to any other Issues that might be construed as having been raised by this charge.
       [I]      The EEOC has adopted the findings of the state or local lair employment practices agency that investigated this charge.
                Other (briefly state)


                                                        -   NOTICE OF SUIT RIGHTS -
                                                  (See the addilk,nel Wo~mot1on attached to this farm.)
Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination In Employment Act: This will be the only notice of dismissat and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this tharge In federal or state court, Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice~ or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed In federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 ve~rs 13 years)
before you file suit may not be collectible.
                                                                   On behalf of the Commission
                                                                                                                    9117119



Enclosures(s)                                                  Roosevelt L Bryant,                                        (Dala Mailed)
                                                                    Director
          Mark Dean
          Attorney
          STEPTOE & JOHNSON
          P.O. Box 1588
          Charleston, WV 25326
